                  Case 8-18-72479-ast                  Doc 14   Filed 08/13/18    Entered 08/13/18 14:16:53


Information to identify the case:
Debtor 1              Noel N. Seifert                                            Social Security number or ITIN   xxx−xx−3483
                      First Name   Middle Name    Last Name                      EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                         Social Security number or ITIN _ _ _ _
                      First Name   Middle Name    Last Name
(Spouse, if filing)
                                                                                 EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Eastern District of New York
                                                                                 Date case filed for chapter 13 4/12/18
Case number:          8−18−72479−ast




                                           ORDER TO CLOSE DISMISSED CASE

The above−captioned case was dismissed by order dated July 27, 2018

IT IS ORDERED THAT:

       Marianne DeRosa (Trustee) is discharged as trustee of the estate of the above−named debtor(s) and the bond is
cancelled.

The Chapter 13 case of the above−named debtor(s) is closed.




                                                                                 s/ Alan S. Trust
                                                                                 United States Bankruptcy Judge
Dated: August 13, 2018




Goclosdsmcs [Order to Close Dismissed Case rev. 07/21/03]
